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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 22-cv-00448-CMA-KLM

  KATHERINE FRIESS,

         Plaintiff,

  v.

  BERNIE G. THOMPSON, in his official capacity as Chairman of the House Select
  Committee to Investigate the January 6th Attack on the United States Capitol,
  SELECT COMMITTEE TO INVESTIGATE THE JANUARY 6TH ATTACK ON THE UNITED
  STATES CAPITOL, a committee of the United States House of Representatives, and
  AT & T, a Delaware corporation,

       Defendants.
  _____________________________________________________________________

                              MINUTE ORDER
  _____________________________________________________________________
  ENTERED BY MAGISTRATE JUDGE KRISTEN L. MIX

          This matter is before the Court sua sponte. On March 7, 2022, the Court set a May
  27, 2022 deadline to file a proposed scheduling order and further set the Scheduling
  Conference to occur on June 3, 2022, at 11:00 a.m. Order [#8]. Without explanation,
  Plaintiff has failed to file a proposed scheduling order and, indeed, does not yet appear to
  have served Defendants. Plaintiff is warned that it is never appropriate to ignore a
  Court order. Further violations may result in sanctions.

        IT IS HEREBY ORDERED that Plaintiff shall file a Status Report no later than June
  6, 2022, regarding the status of service on Defendants.

         IT IS FURTHER ORDERED that the Scheduling Conference set for June 3, 2022,
  at 11:00 a.m. is VACATED and RESET to August 15, 2022, at 10:00 a.m. in Courtroom
  A-401 of the Alfred A. Arraj United States Courthouse, 901 19th Street, Denver, Colorado.

          IT IS FURTHER ORDERED that, no later than August 8, 2022, the parties shall
  submit their proposed scheduling order, pursuant to District of Colorado Electronic Case
  Filing (“ECF”) Procedures.

         Dated: May 31, 2022
